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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SUZANA V ANGJELI,
               Plaintiff                                CIVIL ACTION

              v.

LINWOOD BANKS, et al.,                                  No. 19-1635
              Defendants

                                         ORDER

       AND NOW, this 1st day of October, 2020, upon consideration of Defendants' Motion for

Summary Judgment (Doc. No. 24), Plaintiffs Response (Doc. No. 28), and Defendants' Reply

(Doc. No. 39), it is ORDERED that the Motion for Summary Judgment (Doc. No. 24) is DENIED

for the reasons set forth in the accompanying Memorandum.
